                                   Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 1 of 22
~JS-44, (Rev 11/Q4)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by ~ocai rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the Civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)    PLAINTIFFS                                                                               DEFENDANTS

          TEYA MYERS-CAMPBELL                                                                      Midland Funding, LLC
  (b)     County of Residence of First Listed                  Philadelphia, PA                    County of Residence of First Listed Defendant           San Diego, CA
          Plaintiff
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. P[.AINTIFF CASES ONLY)

                                                                                                            NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                 LAND INVOLVED.


(C)       Attorneys (Finn Name, Address, and Telephone Number)                                     Attorneys (If Known)

          Fred Davis, Esq. -Davis Consumer Law Firm, 500 Office Ctr                                Lawrence J. Bartel, Esquire, 2000 Market Street, Suite 2300, Philadelphia, PA
          Drive, Suite 400, Ft. Washington PA 19034 1-855-432-8475                                 19103
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                  11L Cl'I'1ZENSHIY UP~ YR1NClYAL YAK"1'1L~'S (Place An "X" in One Box for Plaintiff and
                                                                                                 (For Diversity Cases Only)                              One Box for Defendant)
❑ 1. U.S. Government                 ~ 3. Federal Question                                                                 PTF    DEF                                       PTF       DEF
        Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State         ❑1    ❑1      Incorporated or Principal Place   ❑4        ❑4
                                                                                                                                          of Business in This State

❑ 2. U.S. Government                 ❑ 4. Diversity                                           Citizen of Mother           ❑2      p2      Incorporated and Principal Place    ❑5      ❑5
        Defendant                                                                             State                                       of Business in Another State
                                        (Indicates Citizenship of Parties in Item III)
                                                                                                                          ❑3      ❑3      Foreign Nation                      ❑6      ❑6
                                                                                              Citizen of Subject of a
                                                                                              Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Onlvl
         CONTRACT                                              PORTS                                POfZFEITURF.IPENALTY                 13r~1~iKRUP"1'CY             07'}fER 5'CA'CU'1'ES

❑ 1 ] 0 Insurance                     PERSONAL INJURY                 PERSONAL INJURY              ❑ 610 Agriculhire               ❑ 422 Appeal 28 USC 158    ❑ 400 State ReappoRionment
❑ 120 Marine                         ❑ 310 Airplane                 ❑ 362 Personal Injury —        O 620 Other Food &Drug          ❑ 423 Withdrawal           ❑ 410 Antitnist
❑ 130 Miller Act                     ❑ 315 Airplane Product                Med Malpractice         ❑ 625 Drug Related Seizure             28 USC 157          ❑ 430 Banks and Banking
❑ 140 Negotiable Instrument                 Liability               O 365 Personal Injury —              of Property 21 USC 881                               ❑ 450 Commerce
❑ I50 Reoovery of Overpayment        ❑ 320 Assault, Libel &                Product Liability       ❑ 630 Liquor Laws                 PRQI'liRTY;RiG1ITS       ❑ 460 Deportation
      & Enforcement of Judgment             Slander                 ❑ 368 Asbestos Personal        ❑ 640 R.R & Tnick               ❑ 820 Copyrights           ❑ 470 Racketeer Influenced anc
❑ 151 Medicare Act                   ❑ 330 Federal                         Injury Product          ❑ 650 Airline Regs              ❑ g30 Patent                      Corrupt Organizations
❑ 152 Recovery of Defaulted          Employers'                            Liability               ❑ 660 Occupational              ❑ 840 Trademark            ~ 480 Consumer Credit
          Student Loans                     Liability                PERSONAL PROPERTY                    Safety/Health                                       ❑ 490 Cable/Sat TV
          (Excl. Veterans)           ❑ 340 Marine                   ❑ 370 Otlier Fraud             ❑ 690 Other                                                ❑ 810 Selective Service
❑ 153 Recovery of Overpayment        ❑ 345 Marine Product           ❑ 371 Truth in Lending                   I,A130R                  SOCIAL SEC[7RITy      ' ❑ 850 Securities/Commodities/
         of Veteran's Benefits.             Liability               ❑ 380 Other Personal           p ~~0 Fair Labor Standards      p 861 HIA (1395Tt)                Exchange
❑ 160 Stockholder's Suits            ❑ 350 Motor Vehicle                  Property Damage                  Act                     ❑ 862 Black Lung (923)     ❑ 875 Customer Challenge
❑ 190 Other Contract                 ❑ 355 Motor Vehicle            ❑ 385 Property Damage          ❑ 720 Labor/Mgmt. Relations     ❑ 863 DIWC/DIV✓V✓                  12 USC 3410
❑ 195 Contract Product Liability            Product Liability              Product Liability       ❑ X30 I,abor/Mgmt. Reporting    (405(g))                   ❑ 890 Other Statutory Actions
❑ 195 Franchise                      ❑ 360 Other Personal                                                  &Disclosure Act         D 864 SSID Title XVI       ❑ 891 Agricultural Acts
                                            Injury                                                 ❑ 740 Railway Labor Act         O 865 RSI (405( ))         ❑ 892 Economic Stabilization Ac
                                                                                                   ❑ 790 Other Labor Litigation     I~Lll(;KAL TAY SUTTS      ❑ 893 Environmental Matters
     R~,AL PI20PE~2'I'Y                  CIVIL RIGIi'1'S            PRISONER P~TIT(OnS             ❑ 791 Empl. Ret. Inc.           ❑ g70 Taxes (U.S.          ❑ 894 Energy Allocation Act
                                                                                                           Security Act            plaintiff                  ❑ 895 Freedom of Information
q 210 Land Condemnation              D 441 Voting                   ❑ 510 Motions to Vacate
                                                                                                                                                                     Act
❑ 220 Foreclosure                    ❑ 442 Employment                      Sentence                                                         or Defendant)
❑ 230 Rent, Lease &Ejectment         ❑ 443 Housing /                  Habeas Corpus:                                               ❑ 871 IRS — Tliird Paity   ~ 900 Ap~xal of Fee Detenninatiot
                                                                                                                                                                     Under Equal Access
❑ 240 Torts to Land                         Accommodations          ❑ 530 General                                                           26 USC 7609
                                                                                                                                                                      to Justice
❑ 245 Tort Product Liability         ❑ 444 Welfare                  ❑ 535 Death Penalty
                                                                                                                                                              Q 950 Constitutionality of
❑ 290 All Other Real Property        ❑ 445 Amer.                    ❑ 540 Mandamus &Other
                                                                                                                                                                      State Statutes
                                     w/Disabilitie,~                ❑ 550 Civil Rights
                                               Employment           p 555 Prison Condition
                                     ❑ 446 Amer.
                                     w/Disabili6es—
                                               Otlier
                                     ❑ 440 Other Civil Ri Irts
V. ORIGIN              (Place an "X" in One Box Only)                                                                                                                                 to District   I
❑1       Original        ~2       Removed from        ❑3         Remanded from           ❑4    Reinstated or      ❑5
                                                                                                                  Transferred from    ❑6      Multidistrict                  ❑7       ;e from
         Proceeding               State Court                    Appellate Court               Reopened            another district           Litigation
                                                                                                                    s eci
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      47 U S C ~ 227 et seq and IS U S C § 1692 et seq
VI. CAUSE OF ACTION  Brief description of cause:
                     Fair Debt Collection Practices Act
VII. REQUESTED IN   ~ CHECK IF THIS IS A CLASS ACTION                                         DEMAND $         N/A                     CHECK YES only if demanded in complaint:
     COMPLAINT:        UNDER F.R.C.P. 23                                                                                               JURY DEMAND: ❑Yes            ~ No
VIII. RELATED CASES)
     IF ANY            jSee instructions)   JUDGE                                                                                  DOCKET NUMBER
DATE                                                                        SG   TUBE OF ATTORNEY OF RECORD
             May 5, 2015                                                                       (~  ~~~ n
                                                                               ~AAJl4~n fe      T           ~)
FOR OFFICE USE ONLY

RECEIPT !1                           AMOUNT                               APPLYING IFP                            JUDGE                                MAG. JUDGE
                             Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 2 of 22
                                                                    UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF PENNSYLVANIA —DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
 assignment to appropriate calendar.

 Address of Plaintiff: Teya Myers-Campbell c/o Fred Davis, Esq. -Davis Consumer Law Firm, 500 Office Ctr Drive, Suite 400, Ft. Washington PA 19034 1-855-432-8475

 Address of Defendant: Miaia~d F~~d~~g, LLC c/o Lawrence 1. Bartel, Esquire 200D Market Street, Suite 2300 Philadelphia, PA 19103

 Place of Accident, Incident or Transaction: ~'h~iadeiPh~a Couoiy, Pennsylvania
                                                                             (Use Reverse Side For Additional Space)

 Does this civil action involve a nongovenmiental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

   (Attach two copies of the Disclosure Statement Fonv in accordance with Fed.R.Civ.P. 7.1(a))                                                    Yes ~ No


 Does this case involve multidistrict litigation possibilities?                                                                                   Yes ~ No Q✓
 RELATED CASE, IF ANY:
 Case Number:                                            Judge                                                     Date Terminated:


 Civil cases are deemed related when yes is answered to any of the following questions:

 1. Is this case related to property included in an earlier numbered suit pending or within one year previously tern~inated action iu this court?

                                                                                                                                  Yes ~ No ❑✓
 2. Does this case involve the same issue of fact or grow ottt of the same transaction as a prior suit pending or within one year previously terminated
    action in this court?

                                                                                                                                 Yes ~ No ❑✓
 3. Does this case involve tl~e validity or infringement of a patent already in suit or any earlier numUered case pending or within one year previously

    terminated action in this court?                                                                                                              Yes ~ No ~✓

 4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

                                                                                                                                                  Yes ~ No ~✓

 CIVIL: (Place ✓ in ONE CATEGORY ONLY)
 A. Federal Question Cases:                                                                                           B. Diversity Jurisdiction Cases:
 1. ❑Indemnity Contract, Marine Contract, and All Other Contracts                                                     1. ❑Insurance Contract and Other Contracts
 2. ❑ FELA                                                                                                            2. ❑Airplane Personal Injury
 3. ❑Jones Act-Personal Injury                                                                                        3. ❑Assault,Defamation
 4. ❑Antitrust                                                                                                        4. ❑Marine Personal Injury
 5. ❑Patent                                                                                                           5. ❑Motor Vehicle Personal Injury
 6. ❑Labor-Management Relations                                                                                       6. ❑Other Personal Injury
                                                                                                                                                         (Please specify)

 7. ❑Civil Rights                                                                                                              Products Liability
 8. ❑Habeas Corpus                                                                                                             Products Liability —Asbestos
 9. ❑Securities Acts) Cases                                                                                                    Ail other Diversity Cases
10.0 Social Security Review Cases                                                                                                                         (Please specify)
11.❑✓ All other Federal Question Cases
          (Please specify)
                                                                         ARBITRATION CERTIFICATION
                                                                                (Check Appropriate Category)
I Lawrence 1. cartel                                                 ,counsel of record do hereby certify:
       Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
        Relief other than monetary damages is sought.
                                                             i,~

DATE: May 13, 2015                                      ~~(.i~~r.~~               ~     ~(~ y                                                   94006
                                                                                           -F
                                                                  Attorney-at-L,aw                                                   Attorney I.D.#
                                            NOTE: A trial da novo will be a trial byjury only ifthere has been compliance with F.R.C.P. 38.


I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.


DATE: May ~3, 2015                                   _~~y~~~                                                                                    94006
                                                                  Attorney-aY-     w                                                                 AtCorney I.D.#
CIV. 609 ((/08)
                            Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 3 of 22
                                                                      UNITED STATES DISTRICT COURT

 FOR THE EASTERN DISTRICT OF PENNSYLVANIA —DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
 assignment to appropriate calendar.

  Address OF Pl2itlti ff: Teya Myers-Campbell c/o Fred Davis, Esq. -Davis Consumer Law Firm, 500 Office Ctr Drive, Suite 400, Ft. Washington PA 19034 I-855-432-8475


 Addt'esS of DefCndant: Midland Funding, LLC c/o Lawrence J. Barrel, Esquire 2000 Market Street, Suite 2300 Philadelphia, PA 19103


 Place of Accident, IOCIdCItt OC Tiat1S8C[I OiI: Philadelphia County, Pennsylvania
                                                                                (Use Reverse Side For Additional Space)

 Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
   (Attach two copies of the Disclosure Statement Fonn in accordance with Fed.R.Civ.P. 7.1(a))                                                       Yes ~ No


 Does this case involve multidistrict litigation possibilities?                                                                                      Yes ~ No ~✓
 RELATED CASE, IF ANY:
 Case Number.                                              Judge                                                     Date Terminated:

 Civil cases are deemed related when yes is answered to any of the following questions:

 L Is this case related to property included in an earlier numbered suit pending or within oue year previously tem~inated action in this court?
                                                                                                                                 Yes ~ No Q✓
 2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
    action in this couR?
                                                                                                                                 Yes ~ No ~✓
    Does this case involve the validity or infringement of a patent already in suit or any earlier numUered case pending or within one year previously
    terminated action in this court?                                                                                                                 Yes ~ No ❑✓

 4. Is this case a second or successive habeas corpus, social secivity appeal, or pro se civil rights case filed by the same individual?

                                                                                                                                                     Yes ~ No ~✓

CIVIL: (Place ✓ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                               B. Dii~ersity Jau•isdiction Cases:
 1. ~ Indemnity Contract, Marine Contract, and All Other Contracts                                                       1. ❑Insurance Contract and Other Contracts
 2. ❑ FELA                                                                                                               2. ❑Airplane Personal Injury
 3. ❑Jones Act-Personal Injury                                                                                           3. ❑Assault, Defamation
 4. ❑Antitrust                                                                                                           4. ❑Marine Personal Injury
 5. ❑Patent                                                                                                              5. ❑Motor Vehicle Personal Injury
 6. ❑Labor-Management Relations                                                                                          6. ❑Other Personal Injury
                                                                                                                                                            (Please specify)

 7. ❑Civil Rights                                                                                                        7. ~ Products Liability
 8. ❑Habeas Corpus                                                                                                       8. ~ Products Liability —Asbestos
 9. ❑Securities Acts) Cases                                                                                              9. ~ All other Diversity Cases
10.0 Social Security Review Cases                                                                                                                            (Please specify)
11.0✓ All other Federal Question Cases
          (Please specify)
                                                                           ARBITRATION CERTIFICATION
                                                                        (Check Appropriate Category)
I Lawrence J. 6artel                                        ,counsel of record do hereby certify:
     Pursuant to Local Civil Kule 53.L, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
      Relief other than monetary damages is sought.
                                                    i_,~

DATE: May 13, 2015                                       ~~Gf~.e-v.~                    ~
                                                                                    z7___                                                          94006

                                                             Attorney-at-Law                                                           Attorney I.D.#
                                             NOTE: Atrial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

[ certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE: May 13, 2015                                     ~~                                       ?                                                  94006

                                                                    Attorney-at-     w                                                                  Attorney I.D.#
CIV. 609 (6/08)
                Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 4 of 22
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM
Teya Myers-Campbell                                                  CIVIL ACTION


                         ►~~

MIDLAND FUNDING, LLC                                                    NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.


SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)      Habeas Corpus-Cases brought under 28 U.S.C. §2241 through §2255.                           ( )

(b)      Social Security-Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                             ( )

(c)       Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.   ( )

(d)       Asbestos-Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                     ( )

(e)       Special Management-Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side of this form for a detailed explanation of special
          management cases.)                                                                        ( )

(~        Standard Management--Cases that do not fall into any one of the other tracks.             (X)


                                                                           Defendant, Midland
 May 5, 2015                              Q             ~ _ ~~, ~            Funding, LLC
 Date                                      Attorney- -law                     Attorney for
                                          Lawrence J. Bartel,
                                               Esquire.

                                                                          Ljbartel(a~mdwc .com
 (215) 575-2780                               (215) 575-0856
 Telephone                                     FAX Number                     E-Mail Address

(Civ.660) 10/02
551629
                Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 5 of 22
                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                         CASE MANAGEMENT TRACK DESIGNATION FORM
Teya Myers-Campbell                                                   CIVIL ACTION


                         v.



MIDLAND FUNDING, LLC                                                     NO.

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(b)      Social Security-Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits.                              ( )

(c)      - Arbitration-Cases require to be designated for arbitration under Local Civil Rule 53.2.   ( )

(d)        Asbestos-Cases involving claims for personal injury or property damage from
           exposure to asbestos.                                                                     ( )

(e)       Special Management-Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side of this form for a detailed explanation of special
          management cases.)                                                                         ( )

(~         Standard Management--Cases that do not fall into any one of the other tracks.             (X)


                                                                             Defendant, Midland
 May 5, 2015                                             "_ ~                  Funding, LLC
 Date                                       Attorney- -law                      Attorney for
                                           Lawrence J. Bartel,
                                                Esquire.

                                                                           Ljbartel(a~mdwc .com
 (215) 575-2780                               215)575-0856
 Telephone                                    FAX Number                       E-Mail Address

(Civ.660) 10/02
551629
     Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 6 of 22




          IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
TEYA MYERS-CAMPBELL,
                              Civil Action No.
              Plaintiff,
    vs.

MIDLAND FUNDING, LLC,
                   Defendant.

                         NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. ~ 1441(b)

and 28 U.S.C. ~ 1331, Defendant, Midland Funding, LLC (hereinafter

"MF"), by and through its counsel, Marshall Dennehey Warner Coleman

Ss Goggin, P.C., hereby removes the action captioned as Teya Myers-

Campbell v. Midland Funding, LLC, docket no. 150411389, as filed in the

Court of Common Pleas for Philadelphia County, Pennsylvania ("the

Action"), to the United States District Court for the Eastern District of

Pennsylvania, based upon the following:

      1.     On or about April 7, 2015 Plaintiff filed the Action in the

Court of Common Pleas for Philadelphia County, Pennsylvania. A true

and correct copy of Plaintiffs Complaint in the Action is attached hereto

~ s Exhibit "A."

      2.     MF first received notice of the Action on April 14, 2015,

when it was served with Plaintiff's Complaint.

      3.     Based on the foregoing, MF has timely filed this Notice of

Removal within thirty days of being served with the Complaint and


                                    1
    Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 7 of 22




within thirty days of the date that the Action was first removable. See 28

U.S.C. ~ 1446(b).

      4.    The Action is a civil action of which this Court has original

jurisdiction under 28 U.S.C. ~ 1331, and is one which may be removed to

this Court by MF pursuant to the provisions of 28 U.S.C. ~ 1441(b), in

that Plaintiff has alleged that MF violated the Fair Debt Collections

Practices Act, 15 U.S.C. § 1692, et seq., thereby asserting claims that

arise under federal law.

      5.    In that the causes of action alleged by the Plaintiff arise from

the performance of obligations of the parties within Philadelphia County,

Pennsylvania, the United States District Court for the Eastern District of

Pennsylvania should be assigned the Action.

      6.    Pursuant to 28 U.S.C. ~ 1446(d), MF will file a copy of this

Notice of Removal with the Clerk of the United States District Court for

the Eastern District of Pennsylvania, will serve Plaintiff with copies of

this Notice of Removal and will file the Notice of Removal in the

Philadelphia County Court of Common Pleas.



      WHEREFORE, Defendant, Midland Funding, LLC notifies this

Court that this Action is removed from the Court of Common Pleas for

Philadelphia County, Pennsylvania to the United States District Court for

the Eastern District of Pennsylvania pursuant to the provisions of 28

U.S.C. ~§1331, and 1446.



                                    2
   Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 8 of 22




                            Respectfully submitted,

                            MARSHALL DENNEHEY WARNER
                            COLEMAN & GOGGIN, P.C.

                      By:                    ~pw~C~
                            Lawrence J. artel, ESQUIRE
                            2000 Market Street, Suite 2300
                            Philadelphia, PA 19103
                            (215) 575-2780 / (215) 575-0856 (fl
                            LjBartel@mdwcg.com
                            Attorneys for Defendant
                            Midland Funding, LLC


Dated: Mav 13. 2015
    Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 9 of 22




          IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
TEYA MYERS-CAMPBELL,
                              Civil Action No.
              Plaintiff,
    vs.

MIDLAND FUNDING, LLC,
                 Defendant.

                      CERTIFICATE OF SERVICE

     I, Lawrence J. Bartel, Esquire, do hereby certify that a true and

correct copy of Defendant, Midland Funding, LLC's Notice of Removal was

served upon the below-listed counsel of record by regular mail on March

13, 2015:

     Fred Davis, Esquire
     Davis Consumer Law Firm, LLC
     500 Office Center Drive, Suite 400
     Ft. Washington, PA 19034
     Attorneys for Plaintiff
     Teya Myers-Campbell

                              MARSHALL DENNEHEY WARNER
                              COLEMAN & GOGGIN, P.C.

                       By:
                              Lawrence J.esBar tel, ESQUIRE
                              Attorneys for Defendant
                              Midland Funding, LLC

Dated: Mav 13, 2015




                                   D
Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 10 of 22




                 EXHIBIT "A"
Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 11 of 22




l~reci Davis, I~squire                           A1~I'ORNEY I~OR PLAIN"I`if~l~
Identiticatian No. ~~3 JO7
I~AVI~ C,ONSUM~R LAW PIR.M                       T~-1I5 IS AN AR~3I't'Ittl'I'~UN Mt1`I"T'ER.
S00 OF~'iCE CTS 17K-S'I'E 400                    ASSESSMENT OF T~AMAGES
FT. WASI-ITNfi'C()N, Pf1 I9034                   HE/1RINCr IS R~EQUES7"FD.
('~')1-855-432-8475/(F} 1-855~4~ 5-9294
L~dAvis d)usacredittlw~ec_cutr~
"~'I~XA MYERS-CAMPi3FI..Ia                       GQUR'I' OF COMMON PLEEI.S
174 E. Pleasant St.                              PHII,~I7EI,PH(A COUNTY
Phila, PA
t91t9

Plaintiff                                        CNC.C, I~.0"I'IQN

v.

MIDLAND I'LINI')ING, I~1,C
88 5 /+zero l.~c.-Ste 200
Sari Uie~u, C/~
92123

Dc~feradaia~



                                         CODE: 1900

   You ha~~e been sued ~ir~ court. i~'you wish tc~ defend against the cairns sct fbr~h in-the
  fc~.11orvin~; pages, you muss t~~ke action within h~eiity (20) days after this con~plai~~t and
notice are served, by entering; a ~vritfe;i appearance persUnall~~ or by attan~ey and filing in
    writing with. the court yaur defenses or ol~jectic7ns to the claims set forth against you.
       Yulr are warned that iC you fait to do sa the case may proceed without you And tt
 jud~;me~~t may lae entered a~aiixst you by tl~e cauz~ without further police far a~~y money
 claimed in the cc~mplair~t ar for any ether claim ar relief requested by the plaintiff. Yau
                   nay lose money ar p~~opct~ty ar aC1~er i•i~hts important fio yc~u.

 YUU SHgULD fAR£i TI-I[S I'AP1;R TO YUUIt I.AWYrR AT t3VCE. II' Y()U I)fJ
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Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 12 of 22




  ~'I-III.,AJ~FI~I'tiIA CnUN`1'Y BAR ASSOCIATION-t.AWYCR RCCLRRAI.,& INFU
                                      SF;RVIC};

                                 ~'luladelphia F3ar Association
                                l101 Market Street, llth Floor
                                         Phil, .PA 1X107
                                    1'li~ne: (2l S) 738-630
                                      1~~x: (215} 2381159

                                         AV1SU
   I:,e han demandado a usted en la torte. Si usted quiere defenderse de estas de estas
  de~z~Findas expucstt~s an las ~agin~s sig~~iurxtes, tested iienc vcinte {Z~) dias de plaro al
 partir de is fecl~a de la clemt~~icla y i~t noti~cacion. I-.ace falta asci~tar una campar~ncia
escxita n en persona ~ con un abogado y entre~a~• s~ la torte en Forma escrita sus d~fens~s
n sus objeci~nes a l~~s denit~~idas ei1 c~ntr~ de su }persona. Sea avisado gtiic~ si i~stc~i nn se;
   defiende, le carte tomara mcciidas y pucde continuer la cienianda en contra soya sin
 previo avzso o caoti~c~cio«. Acir:mas, la c~~rle pue~ie decicl'sr a favor d41 ciemaridante y'
  requiere que asted c~un~la can fades las provisianes tie esta demands. tJsted suede
        pexc~cr di~lero o sus pro~icdades u ostcos derechas impnrtantes pare usted,

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                 ~'tJ~.Dr Gt)NSEGUIR ASISTENGtA LEGAL.

                          SI:RVICIC7 D~ R~i'~KTNCIA ~.~GAT~
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                                       Pl~ila, t'A 1~,~107
                                   Phone: {215} 238-G~QO
                                    l~~tx: (21S}23$-1159
Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 13 of 22




~~`red Davis,inquire                                      ATTUR~IF:~ Y~o~~ ~~r:.~iN~~,r~k
Id~;nti~ic~tion Na. 93947
I)AV~TS CCaNSUM(3R L,AW FIRM                              THIS IS AN ~1R131"i'Itt1."I'IVN MA'1""I'ER.
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[''l'. WASHING'I'UN, I'A 1934                             KEQTJES'l'k~i7,
(`I')1-KS5-X32-8475/(F)1-855-435-9294
i_'tlavis ~~us~creditlaw~r,cc>~~3..
1"EYA MYERS-CAMI~BEI~L                                    COURT t)C' CUMMON PI.E~1S
174 ~. Pleasant St.
Phila, PA                                                 PHILADEI~AH[r1. COUNTY
191 t9

Plairrriff

v.

MIDLAND I~`I~NDING, I_,T,C
8875 Aero 17r.-Ste 2Q0
San. Uie~~, CA
92123                                                     CiVII, AC'T[ON

Deferr~'anf


                                          COM~'LAINT

                        1'l~.intiff 7"EY~1 MX~~tS-GAM~'I3~.I~1~, is an adult individual

citizen and Iegal i~esidcnt of the State of Yeiinsylvania, living at 17~ E. Pleasant St. St,

Phila, Pa 1{3l 19.

                2.       D~fendnnt, MIDLAND FUNDING, LLC', is a business corporation

qualified to and regulac•ly canc~l~ctin~ l~usi~~ess in, the Commom~vea.Itli of Pennsylvania,

with its legal residence arul ~~rincipal dace of'busincss at $875 A.~t•o I3r.-Ste 20~, San

Diego, C~ 92123. Dcfc~~dant can be sci•vecl at that ~tldress.

                3.      I'l~i~itift' ~rrers tl~~i Rf all iii~les n~~terial l~creto, 17efendatxt acted E~y

~»d tI}rou~,l~ its authorized a~;cnts, servants, officers, anti/ter employees, ii~eludiitg

Iaefendar~t, III c>f whom ~vcrc actiiag within the scope of their ei~ripiny~nent.
 Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 14 of 22




                                 .IUK(SDIGTION ANi1 VENUE

                 4.       Jurisdiction of this court arises pursuant to i S U,S.C:. § 1692k(d),

whiclti sfaies that such actions ~~~ay be brought and herd Uefare "any appropY~iate United

States district court with~~~t re~;flrd tc~ the antoul~t iii ccanCroversy, or in any other corart of

rc~m~et~nt. jurisciicti~a~".

                 S.       Defendant re~ularty conducts busitless .in tl~e State of I'eru~sylvania

t~t~d in the C,~unty of I'I~iladel}~11i~i, thcrefare, pe~~sa~~al jt,~risdiction is cst~blished.

                 G.       Venue is groper in Philttdel~~liia Cou~1ty p~~rsti~ant to P~nnsyivania.

Rubs of Civil Procedure l 006 and 2 L 79.

                 '7.      Dccla~~atr~ry relief is availablepursuant to 28 U.S.L. ~§ 2241 attd

2202.

                                              PARTIES

                 8.       Plaintiff is a nAtural ~crso~i xesiding i~~ Pl~ita, PA,

                 9.       Plaiiiiiff is a "consumer" as that terix~ is cle~i~ed by 15 tJ.S.C. §

t692a(3), fls the a11e;~ed dent at issi.ie was acgi~iretl in t}3e pursuit of consu~ncr related

pua~poses, such as pu~~aha; ia~~ household foods ai d supplies, clothing, foc7ci, and iar atli~r

t~nn-c~mi~~ercial goods ~xid services.

                 10.      Defe»d~nt, MII7L~ND kUhlU1NG, ~,I.C, ~s a co~npaz~y laanclting

debt collection matters with hcadc~u~rtc~•s located at 8A75 Hera I)r.-Ste: 200, Sari Uiego,

C;J1. )2123.

                 11.      I7efe~~c~anf is a debt c~llectar ~s that e~riY~ is de~necl by l5 U.S.C:.

 l692a(6}, ~znc~ sought to called a caz~sumer debt frc~nl Plaintiff as described above.

Defandant identifies itself as a debt collector i~~ virtual marketing and in curt Tangs.
 Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 15 of 22




                    12,       llefer~d7.t~t actccJ tltc•ough tlieix' ag~;~~ts, ~;mplc~yecs, c~fficei•s,

 memk~ers, directors, Heirs, successors, assigns, principals, trustees, su~~eties, sr~bro~ees,

 ~•e}~resentatives, a~td i~~suxers.

                                       I+'AC'TUAL ALL~t7ATIONS

                    t 3.      On Deccrnbcr 11, 20l4, Defendant filed a ta~~suit against

 Plaintiff in the Philadel~~l}ia .Municipal C'ou~~t. 7'he suit sought damages of $ 3,738.85 for

 an allcgcd default nn a "Crt11'tTAI... ()NE, N.A." credit accotuit ending in "6:139"which

 ~~ef'endant a(l~ges it purchased fian~ "CAPITAL> ONE::, N.A.", See Exhibits "A"and "B".

                    1~1.     ~'laintiff alleges and avers that Defendant ~~aisr~presented tl~e legal

statics oi'tl~e alleged debt by <ir~;uin~; that it wvas an assignee a~ld/c>r successor in interest to

"C~PITAC, QN~?, N,A." witl~ot~t ~rc~viciir~~ finy cic~cumet~Cary paoc~f of assignment oc

cliar~;c-off by the "C/~PITAL ONT;, y.A,", in violation of l.S 11.5.x;. §1G92e.

                   l 5.      l'laiiitill' lurth~r alleges aiici avers that Uefendat~t violated 15

CJ.~.{~~. § [fi37{a) by faili~~~ t~ disclose in writing the rraate~•ial tet•~ns ~f tl~e alIe~ed credit

ag~•eetnent, anti Defendant the~•eby znisr~presenXecj t13e nature aacl legal status of the

alle~,ed debt/accou«t, ~n vioiFifiio~~ of IS U.S.C. ~IG92e.

                   16.       I'lair~tiff further alleges ~~nd avers ih~f T7efer~~lant's failure to

adduce p~•oaf that C~,i1PTI'~1I., UNf's, I.A. ell~z•ged off'the ~~llegcd e~~eclit account was a

violation of.'Unifot•m ItetG~i! Gt•t;<iit C:lassi~catian end Account Mana~eme;nt Policy, ((iS

F'ed. Reg. 36903, June 12, 2()017), ~tt~ci 1)cfet7danf thereby misre~resentec) the nature and

legal status oi'the alleged debt!ac~c~ur~t, iix vinl~tion o#' IS tJ.S.C. § 1 G92e.

                   17.      I'1~►it~tift' f~3x-ther alleges cad avers that Defet~da7Yt's lawsuit

COIISi1fUt6S i1 tI11.5f'Gj)TCtiC11lAf1011 SUCCOUtICIITi~; t~1C I]Y1tUt'~ illtC~ IC~aI S1~.CU5 Of'the alleged iiebt
Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 16 of 22




because; Uefeticlanl's laws~~it to call~:ct this alleged d~;t~t was tune-harreet by the fnur-year

statute dflitnitatians as impnscd ley 42 I'a. C.S. § S52S(a)(1), in violation of 15 U.Q.C.

§1692e.

                 18.      Plai~~tal'f'fiartlier alleges atld avers thftt Defe~acian#'s lawsuit

constitutes an action which. cannot i~c te~;ally taken, because 17efendant lacked standing; to

file the 1'hiladelpbia M~rnic;ipal Coilrt 1~~~;~suit, in violation of 15 U,S.C. §1692e.

                  19.      Plai~~tiff 1'uriher all.egcs and avers I:7cicndG~nt ~tYadc ~r caused to be

17»de nurn.e~•Uus, ~rfcnsivc ~~ho«e calls tc~ [plaintiff ~r►d un~•elatecl t1aiE~d-parties attempting

to eollecl the; alleged "dent", and after► tic~~es failed to properly identify itself', in violaii~n

of IS U.S.C. §§ 169Zc(a}(1) a~~d d.

                 20,      Plaintiff 1'irrther ulle~es anel avers that Defwndant failed to notify

tl~e r~leva.nt credit burearis th~i the alle~e~l cic:bt was in dispute, in vialatic~n of 15 LJ.S.C.

169~e,

                                    COUNTI
                  T[~E FALR DEFT Ct~Z,LECTION ~'Y2ACTIC~S ACT


                 21.     In its actions to collect a dispGited debt, llcfendant violated the

F1~CPA in one ar more of~ tt~c Cc~llo~ving ways:

                         ~,       1-Iarass ~a~, opp~~essiti~ car ~busiiyg Plai~itift in c~c~nection

with tli~: collection ~~!'a de[~l in viol~~tio« u~C 1 S t1.S,G. § lC92d.

                         b.       tTsing misrepresentations o~• deceptive means to c:olleet a

debt in vialatiozl of l5 U.S.C.;. ~ 16J2e(1.0).

                         c.       llsin~ unfair Ur t~zicanscic~tiablc n~ear~s to c~3lect a debt in

violaeion ~f i5 IJ.S.C.~~`1692f.
Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 17 of 22




                          e1.      ~tten~ptirl~ tee ccftlect ~n amc~L~nt not authorirecl by eontr~ct

or law in vi~latian ~f I5 U.S.C. ~IC92f.

                          c.       E3}~ acting in an otherwise deceptive, unfair and

unconscianahle rnaniier end failing to co~rlply with the FDCPA.

                 WHEREFORE, Plaintiff, TT;YA MYFRS-CAMI'~3EI.,T,, respectfully

prays fcar a j~rdginent as :fall<n~vs:

                          a.       A!i actual cr~m.pensatory damages suffered pt~rsualrt to 1S



                          b~       Statutory dan~~~es ~f $1,OOQ,QO fo~~ each violation of the

~i~CPA pursuaiyt to 15 U.S.G. § 1G92k(~}(2)(A);

                          c.       All re~sonabl~ attc~~~~cys' fees, witness fees, Ct7urt eosls and

    other liti~;atio~a costs i~~ctiri•c~c~ by I'lai►ltiff pu~~siiant to 1S II,S.C. ~ 1693k(a)(3}; and

A~~y other relief deemed ap~ropriat~ by fl~is ~lonaiable Couat.



                         DAVID CQNSUIuiCR I~AW .T~IRM



                 }3y;                                             ~~
                          (red l~avts-PA ID# ~)39Q7
                          ~lttcarney far 1'l.ainl:it:f,'I'IYA MYITtS-CANIP~3L~,L
                          5(l0 C)ffice Cente~~ Drive-Suite 4d~
                          I~t. Wasl~ington,l'A 19034
                         'I'e1-- 1-SSS-~~2-8475/F~ecsin~ile-1-855-435-9294
                          Email; i'davi~a~usacreditla~vyez•,cc~m
Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 18 of 22




                                        ~~r,Kir~cA~'it)N
                I~reci Uavis, states that ixe is the titto~x~ey for ttae Plaintiff herein; that lie is

acquainted with the facts set furlfa it7 the f~regaing C.oi~~plaint; tha! same are true and

correct ~o the best of leis k~1~wl~dge, inforn~ation and bcli~f; a~~d fl~~t dais statement is

made subject t~ the I'et~aities of 18 I'a. C.S.,L1. §4904, relating to unsworn fa(sificatiat3s t~

authorities.




                        llAVIS CONSUMER HAW FIRM



                ~y:                             _..
                        Fred D ~s-Pn ]Ia# 93907
                         Atto~~~ey Cor Plai~}tiff, TEYA MYIRS-CAMPT3I~I.,1:,
                        S00 (~['fice Center i.)rive-Suite 400
                        I~t. Washington, P,~► 19Q34
                        `Cel -~ 1-A5S-432-8475/Facsimile-1-855-435-92)4
                        Ims~il: fcl~~~is~~us~cr~ciitl~wy_trc~m
                   Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 19 of 22



                                                     PHILADi~~C,~I~IA MUNICIPAL COURT
                                                 ~'IRS'C JU~IC'lAL DISTR(C;'I Qk YNNl~til'[..VAN[A
 .,~~~ .    ~~M1
   y11'rM`j~cl"'
                                                                1339 Chestnut Street, fOth Floor, f'hil~delphia, PA 19iU7
                                                NiarsE~n Fl. Nc.ifield, t'resideni Jude Patricia H. Mct)ermott; ~)eputy Couri Adrninistratur

                                                                            S"I'A"I'~MEN`I' OF' G`LAIM
   Cn~~: Canaumec Purchase - (91                                                     SC/C~': # SC--19-12-31-929:1.
   MTULANU FUNUtNG LLC                                                                    IEYA tdYSRS^~CAMYtiL'LL
   PO SOX 939019                                                                          179 E C>I,f:ASI~NT ST
   SAN Dik7G0, CA 921?3                                                                   PEIILA~F,t,~Eirn, PA 19119




                 rrss tinforn~afinn) if othew

   ?'o the ~ejen~lant.• Pleixtiff rs seekrrig a mu~~e}~ juctgme~tt agrtrrrst the defeudnnt(s) based on the follu~ving eluiur.
  Plaintiff is the rightf:ui. assi~ne~ t~f the ak~ove-r.c:Cerenrecl accouEit (lierei.nafrer "the Arcot~nt") .
  The account was opened grid eatahlisk~ed zit: bc:feridar~t.'s (s' } request:, unc3ex wh9.ch crwdit caas ~xr~nded
  tp pefendat~t(s}, Jpan in£orncz3tion and uel.i.~f., D~fendant(s) us~sd end/or auChprized the use of the
  cr~,dir, thus er.~ended, regultiny in a balance due and awa.ng by Defendant (s) on the Account.
  plz~inti~f holds rill righi;~, tiY.le and i.ntnrast i.n dud t;o Che ACCSOunt.                                     ~~:3j~ ~:r-~ P1ainCit!''9 demands
  for payment, AefendanC(,) has failed anal r.~;[used Y,a pay pll sums duo and owing on tha hcc~oimt:, tb
  the damage and detr9.mznt. of. P1~z.int.Cf, i>laintitF's lausinesa records :indicate ~hak there i:;
  presently due and owing 'ram Defenc~ant(s) to Niaintiff the sum set f~ri:h be].pw,




   Summons to the Defendant                                                                          Amount Claimed
   'Y'au arc hereby UY(Ie1'CII CO An(1Ca1' NI ~ IICAYISI~,                                           i'ri~acipai                        $                           i•~sa.ns
                                                                                                    ItitCCCSC                           $                               0.00
   SCEiQtIUIC~ T5 fQIi0WS1
                                                                                                    attorneyrees                        ~                               o.00
   Citation al Clemandado                                                                                                                                               o.00
                                                                                                    Other I'cev                         ;C,_____,,.,.__
   Ynr Ca ~resenta, CJsted esta dirl~ido n presentarse a la                                                                                                  ._ 173$.85 .
   siguiente:                                                                                                Sahtattl                   $ _... _.
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   1339 Criestnut Street 6i:h Flog                                                                   AutotttattUtt Fed                  $                               3.50
   Philldr.l.phia, 2A 9107                                                                          Cot:veniencct'ec                    ~                               ~.00
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    January 26L'ti, 7.015                                                                            ATJ SuF•chRr~c                     $                           ao.00
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    0~.: no t~F~                                                                                     bate Filed: ~ziz~izoa.a

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f am an ntromey fc~r the plamtiFRs). ltte plaintiff's a~ithnrized represcntativc or hnc~e at po«cr ui'altorncy li>r the plaintit?~s) in This statement
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verify that C am xuUwcizeti In make this vorificaticm; ghat 1 have suilicient knowicdgc, infnsm~ytion and b4liaf to fake this verification ur
                                                                                                                                        and cnnect to the best of my knowledge,
ini'onnation and belief frpm communicntions with the plaintill'or the pergons listed below:~n~ that the fnals set Carih nr~ true                        ranking of uns~~rom
information sand belief, 1 understand that this verii'ication is mnde subject 4o tlw' penoltiec set forth to IH Pa. (.'.S. F 95x)d, wluch concerns the
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falsificaiionx m nuthorilies. If t am an autt~prized represerdative or have a ~w~acr <~I'auorney, 1 hu~~e auai:he~i a completed t'biledetpbia Municipa~i
representative fnnii or s~ compictcd ~wor of attorney fixm.


                          r.K~caua t~h:iHiP7                                   A~►~lress ~ ~, 3 s ~s«oAo sTKr.;~r s•~~zT~ ie~o
                                                                               ~'~~On~    F'1iILAUELYHIA, ['A I.h109
   Sigeature Plaintiff/Attorney                                                           2:t 5-y2li-7 4Ca0
   nt~y~au: oza~~zs_....._.
     NU'CIC69'A 7'IIF: UL~FENt).~~"!. YOU tiAYF, AGF.(t 51iEd IN CUUR~f~.                             AYISO A{. DBAtANU:tUO LE (liN DL51:1NUAlH/6Y CORTi ~'BA VUR l4/VpR
     PLF.AtiIS SEE~11"TACHEf) VOTI(:Eti                                                               I.ni; A~'IS('SSAti0Ck1U!)5.

                             If you rvigh to revolve This nlaller wilhonf appa~rin~ iu wart, ~~Icase cantnct the aUoraey shnrv~n;ibove Immediately.
    Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 20 of 22




                                               Vez~ification

    Mycah Stnick, whose business adciz•ess is 16 Mcleland Road Suite 101, St, Cloud, MN 56303,
    certifies and says:

    1. Iam an officer for M~I7i,AND FUI~IDING LI,C and have access to pertinent account
    records for Midland Credit Management, Inc. ("MGM"), servicer of ftiis account on behalf
    o~plaintiff. Iam a ccsn~~aetent person aver eighteen years of ttge, and make the statements
    herein based upon ~ersanal knowledge of thaw account records maintained on plaintiff
    behalf. Plaintiff is the current owner of, and/or• successor to, the obligation sued upon, at~d
    was assigned al] the rights, title and interest to defendants CAPI~'AL ONE, N.A. account
    XXXX~~XXXXXXXb339 (MCM Number 8561h25478) (hereinafter "the account").Ihave
    access to and have reviewed the records pertaining to the account and am authorized to make
    this ~verifie~tion on plainti~"~ behalf.

    2.   Bttsed upon my revre~v pf the business records: 1) c~efsndaut(s) opened the CAPITAL
    t~NE, N.A, accaurtt on 2003-D6.20; 2) the last paymentposted to the account on 20I2-IQ-04;
    and 3) t3~e account was charged off`on 2b13-(~S-3I.

    3.  The business records s}iow that the defendants) owed a balance of $1738.85 as of
    2014-t0-28.

    ~ certify under penalty ofperjury that the foregoing statements are true and correct, The
     undersigned understands that the statements tl~ereii~ are made subject to the penalties of t$
    Pa.C.S: §904 relating to unswnrn falsification in authorities.

              NOV 0 ~ 2.014
    Date                                           ~-~---~-~                                       --
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    PAl0
    Hoyt, Itayt & La~~dau, I..LC




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                               Vic_. ~,~      ~~c',
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              Case 2:15-cv-02679-HB Document 1 Filed 05/14/15 Page 21 of 22




  April Q7, 2015 10:56am                                                                                          `~
           +.~~~t;€F;s:,E;,=?                                                        Visw ~relimiria    Cover Sheet
 fired E. CJavis

 Username:fdavis                     IMPOi27ANT N07'ICE
    date Informatio
                                     The legal paper you electronically presented for filing has beery received by
                                     the Prothono#ary of Philadelphia County.. The follawitig information will
  ~~=~ M~Cr~ Menu                    assist you in tracking the status of the pleading:
  ~-~-~~ CP Civ~,__.il Held,
                                     Caption: BRITT VS MIDLAND FUNDING LLC

  '~"y'~ ~~~                         Date Presented to Prothonotary for Filing: April 07,_2015 10:56 AM
   Elite #: 9504011433               Type of PieadinglLega! Paper: COMPLAINT
   Status: Pending
   Started: Q4I07115                 ~-file No.: 1504011433
   Court: Cp
                                     Confirmation No.: 4B10E067F'
* aeQuired ~ie~d.
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                                     The requisite filing fees will only k~~ charged to your credit card upon
r~ tr~~vtac7 us                      acceptance of your lec~a! paper by the Prothonotary. Na charge will be
            ~. ~ ~                   posted to your credit card if yourlegai paper is rejected.

                       ~ `; t~
       ,~.=°~`~'~ "' ,.~,            Phase be advised that the above legal paper will not be deemed fo have
                              ~~°'   been "filed" until it has been reuiewed and accepted by the Prothonotary.
  ~: , ~ '~ ~~ ~~ ~~"`               You will be notified by email when yo~~r legal paper f~as been approved or
                ~~~~ %~ ~            rejected by the Prothonotary. If you do not receive an approval or ~ejeation
           ~~'Yz ~~ ' - ~ ~~ ~~      email withir7 twa (2) business days you may contact the Prothonoiary's
       ~" ~ ~r j ~                   Office at (215) 686-6679 to determine the status of your electronic filing.

                                     At any time, you may check the status of your electronic filing by logging in
                                     to the Eleckronic Filing Web Site at http:/Icaurts.phila.gov using the Court-
                                     issued User Name and Password.

                                     You are reminded that Pa.R. C. P. 205.4 requires that a hard copy of the legal
                                     paper you have filed electronically shall be signed and, as applicable,
                                     verified concurrently with the electronic filing of the Jega! paper, and shall be
                                     maintained by you for two(2) years after the later of: {i) the disposition of the
                                     case; (ii) the entry of an order resalvi~7g the issue raised by the legal paper;
                                     or (iii) the disposition by an appeNate court of .the issue. raised by the legal
                                     paper.

                                     At the request of any party, you must produce for ins~ectian the original or
                                     a hard copy of a legal paper or exhibit within fourteen (19) days , or the
                                     court may, upon motion, grant appropriate sanctions.


                                     Thank You,
                                     Eric Feder
                                     Deputy Court Administrator
                                     Director, Office of Judicial 1~ecords
                                                                                                                               .:
                                                                ~.~~
                                                                 ~~ Davis Constuner Law Firm
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